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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA




                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

JUSTIN STRIPLING,                         )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Case No.: 7:19-cv-00239-ACA-HNJ
                                          )
WARDEN TOMPSON, et al.,                   )
                                          )
       Defendants.                        )

                                     ORDER
      The magistrate judge entered a report on March 4, 2020, recommending that

the court dismiss all claims in this action without prejudice pursuant to 28 U.S.C. §

1915A(b) for failing to state a claim, except the claims against Defendant Cutts for

excessive force and deliberate indifference to Plaintiff Justin Stripling’s serious

medical needs.      (Doc. 18).   Mr. Stripling filed objections to the report and

recommendation. (Doc. 22).

      In his objections, Mr. Stripling argues that the magistrate judge abused his

discretion by dismissing the claims against Defendants Tompson and Hudden

without first affording him an opportunity to amend his complaint.       (Doc. 22 at

1–2). Mr. Stripling claims that had he been given the chance to amend, he would

have alleged that: (1) Hudden and Tompson “had personal knowledge (staffing or

otherwise) of the December 11, 2017, incident,” (2) Hudden failed to assign security
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officers to the plaintiff’s dorm on December 11, 2017, and (3) Hudden and Tompson

knew the “facility was dra[s]tically short-handed on that shift and had been short for

quite a while,” but did nothing to correct the problem. (Id. at 3-4).

      As an initial matter, the magistrate judge did not dismiss the claims against

Defendants Tompson and Hudden. Rather, he made a recommendation to the

undersigned to dismiss the claims. Furthermore, the magistrate judge did afford Mr.

Stripling an opportunity to amend his complaint on June 10, 2019, when he entered

an order notifying Mr. Stripling of pleading deficiencies in his original complaint

and directing him to correct the deficiencies by filing an amended complaint. (Doc.

15). On July 3, 2019, Mr. Stripling filed an amended complaint (doc. 17), which the

magistrate judge examined in his March 4, 2020 report and recommendation (doc.

18). Mr. Stripling identifies no factual or legal error in that report. Therefore, the

court OVERRULES Mr. Stripling’s objections.

      In his objections, Mr. Stripling suggests that he may wish to amend his

complaint, but he has not filed a motion to amend. Therefore, any request to amend

the complaint is not properly before the court. If Mr. Stripling wishes to amend his

complaint, on or before October 5, 2020, Mr. Stripling must file a motion for leave

to amend with a proposed amended complaint attached to the motion.




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       Having carefully reviewed and considered de novo all the materials in the

file, including the report and recommendation and Mr. Stripling’s objections, the

court ADOPTS the magistrate judge’s report and ACCEPTS his recommendation.

      The court ORDERS that all claims in this action, except the claims against

Defendant Cutts for excessive force and deliberate indifference to Mr. Stripling’s

serious medical needs, are DISMISSED WITHOUT PREJUDICE, pursuant to 28

U.S.C. § 1915A(b). The court REFERS the claims against Defendant Cutts to the

magistrate judge for further proceedings.

      DONE and ORDERED this September 21, 2020.



                                   _________________________________
                                   ANNEMARIE CARNEY AXON
                                   UNITED STATES DISTRICT JUDGE




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